1. This court is without jurisdiction to entertain an assignment of error that the verdict is contrary to the evidence, if there is any evidence to support the verdict. This is a question that is addressed to the discretion of the trial judge, upon whom is imposed the duty of being satisfied with the verdict before he approves it. Bell Bros. v. Aiken, 1 Ga. App. 36 (2) (57 S.E. 1001); Mayor c. of Gainesville
v. Henderson, 12 Ga. App. 126 (4) (76 S.E. 1034);  Aycock v. State, 62 Ga. App. 812 (10 S.E.2d 84);  Sisk v. Landers, 67 Ga. App. 538 (21 S.E.2d 449).
2. (a) A charge in general terms on broad and controlling principles is sufficient in the absence of detailed requests.  Moore v. Brown, 81 Ga. 10 (4) (6 S.E. 833); Smith v.  Watkins, 183 Ga. 555 (188 S.E. 910).
(b) In such event, in order that complaint may be made of the court not having charged more, it should appear that a timely request was made. Betts Co. v. Mims, 14 Ga. App. 786
(82 S.E. 474).
                       DECIDED SEPTEMBER 6, 1947.
Leonard Shields was tried at the March Term, 1947, of the Superior Court of McDuffie County on an indictment, charging him with assault with intent to murder. Without detailing the testimony of each of the witnesses and the statement of the defendant, it is enough to say that the jury was authorized to find from the evidence that the defendant and one Pete Lowe had engaged in a fight at the home of Son Williams, in the course of which, the defendant drew a pistol and snapped it several times at Pete Lowe, and Pete Lowe cut the defendant about his body with a knife; that Son Williams and others present, separated the two and took the pistol from the defendant, who went into the house; that Pete Lowe endeavored to pursue the defendant into the house, and upon being prevented from doing so by others present, walked away from the house and premises. When he had reached the field outside the yard, the defendant, who had procured a shotgun from inside the house, shot at him, but apparently missed him the first shot. Pete Lowe then began running across the field and the defendant fired upon him the second time, some of the shot taking effect.
The jury returned a verdict, finding the defendant guilty of the offense of unlawfully shooting at another and fixed his punishment at not less than two, or more than four years in the penitentiary. *Page 631 
Thereafter, the defendant filed a motion for a new trial on the general grounds and one special ground as follows: "Because the court erred in not charging the jury, that, if they should find from the evidence and the statement of the defendant, that a fight was in progress between the defendant and Pete Lowe brought about by Pete Lowe, and Pete Lowe by the use of a knife had severely cut the defendant, causing him to bleed and suffer, if death had resulted to the defendant, Pete Lowe would have been guilty of murder, and the defendant shot Pete Lowe to prevent a recurrence of such murderous attack upon him and in self-defense, it would be the duty of the jury to find a verdict of not guilty."
Upon hearing, the trial court entered a judgment overruling defendant's motion for new trial, and on this judgment error is assigned.
1. Regardless of what may have caused the original conflict, and who may have been the aggressor therein, the jury was authorized to find that Pete Lowe had abandoned it at the time he was shot by the defendant. There was evidence to support the verdict.
This court is without jurisdiction to entertain an assignment of error that the verdict is contrary to the evidence, if there is any evidence to support the verdict. This is a question that is addressed to the discretion of the trial judge, upon whom is imposed the duty of being satisfied with the verdict before he approves it. Bell Bros. v. Aiken, 1 Ga. App. 36 (2), Mayorc. of Gainesville v. Henderson, 12 Ga. App. 126 (4),Aycock v. State, 62 Ga. App. 812, and Sisk v. Landers,67 Ga. App. 538 (supra).
2. (a), (b) The court charged the jury fully and correctly on the law of justification, self-defense, and mutual combat. The special assignment of error contained in the defendant's amendment to his motion for new trial, based upon the court's failure to charge the matter set forth therein, relates to these principles.
A charge in general terms on broad and controlling principles is sufficient in the absence of detailed requests. Moore v.Brown, 81 Ga. 10 (4); Smith v. Watkins, 183 Ga. 557
(supra). In such event, in order that complaint may be made of the court not having charged more, it should appear that a timely request was made, Betts Co. v. Mims, 14 Ga. App. 786
(supra). *Page 632 
The judgment of the trial court overruling the motion for new trial is without error.
Judgment affirmed. MacIntyre, P. J., and Gardner, J.,concur.